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         UNITED STATES DISTRICT COURT
   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                          No. 2:20-cv-966


    DONALD J. TRUMP FOR PRESIDENT, INC., et al.,

                                            Plaintiffs

                                 v.

    KATHY BOOCKVAR, in her capacity as Secretary of the
    Commonwealth of Pennsylvania, et al.,

                                            Defendants.



                             ORDER


           AND NOW, this 23rd day of August, 2020, and as
    set forth more fully in the accompanying Opinion,

           IT IS HEREBY ORDERED that the motions to
    dismiss filed by Defendants and the various Intervenors
    [ECF 246; ECF 260; ECF 261; ECF 263; ECF 272; ECF 274;
    ECF 278; ECF 280; ECF 282; ECF 283; ECF 287; ECF 288;
    ECF 289; ECF 294; ECF 296; ECF 298; ECF 321] are
    GRANTED in part. They are granted only to the extent
    the motions ask this Court to abstain from rendering a
    final decision on the merits under the doctrine set forth in
    R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496 (1941).
    Because the Court is abstaining under Pullman, it has not
    reached a determination on any other arguments raised in


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    Defendants’ and Intervenors’ motions, and therefore holds
    the remaining aspects of those motions in abeyance.

           IT IS FURTHER ORDERED that the Court’s July
    17, 2020, Scheduling Order [ECF 124] is VACATED, and
    all remaining requirements and deadlines set forth in that
    order, including the evidentiary hearing scheduled for
    September 22 and 23, 2020, are hereby CANCELLED.

            IT IS FURTHER ORDERED that the case is
    STAYED. The Court’s entry of a stay is without prejudice
    to any party moving to lift the stay after either: (i)
    resolution of the unsettled state-law issues identified in the
    Court’s Opinion by the Pennsylvania Commonwealth
    Court or the Pennsylvania Supreme Court; or (ii) a
    prolonged delay by the state courts in resolving the
    unsettled state-law issues (i.e., if no decision has been
    entered by the state courts by October 5, 2020). Under the
    latter scenario, any motion to lift the stay shall be limited
    to the claims that are not based on unsettled issues of state
    law. That is, the movant could only ask to proceed on the
    following claims from the Amended Complaint [ECF 234]:
    (i) Plaintiffs’ third-party ballot-delivery claims that are set
    forth as parts of Counts I, II and III; (ii) Plaintiffs’ facial
    challenge to Pennsylvania’s poll-watching residency
    restriction set forth in Counts IV and V; and (iii) Plaintiffs’
    claims for improper provisional voting as set forth in
    Counts VIII and IX.

                               BY THE COURT:

                               /s/ J. Nicholas Ranjan
                               United States District Judge




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